 

Ww» UNITED STATES DISTRICT COwitr

U.S. DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN 35TERN DISTRICT -W!
Per

UNITED STATES OF AMERICA, Case No. 96-Cr-
[T. 21, U.S.CO6SSBN+()R2)1,1
Plaintiff, 846 & 853; T. 18, §§2, 982 &
Vv. 1956 (a) (1) (B). i).

JERRY WALKER,
a/k/a Jerry Richmond,
FERRANO BARNES,

a/k/a Quan,
ROY EVANS,
a/k/a Mister, and
TONY WALTON, ped
Defendants. A

COUNT. ONE

 

THE GRAND JURY CHARGES:
That from on or about January 1, 1989, to on or about December
5, 1995, at or around the State and Eastern District of Wisconsin
and elsewhere,
JERRY WALKER,
a/k/a Jerry Richmond,
FERRANO BARNES,
a/k/a Quan,
ROY EVANS,
a/k/a Mister, and
TONY WALTON,
defendants herein, did knowingly and intentionally conspire with
persons known and unknown to the grand jury to possess with intent
to distribute cocaine, a Schedule II controlled substance, and
cocaine base, a Schedule II controlled substance, in violation of
Title 21, United States Code, § 841(a) (1);
All in violation of Title 21, United States Code, § 846 and

Title 18, United States Code, § 2.

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COUNT TWO

 

“ THE GRAND JURY FURTHER CHARGES:
On or about April 19, 1994, in the State and Eastern District

of Wisconsin,

JERRY WALKER

a/k/a Jerry Richmond, and
ROY EVANS,

a/k/a Mister,
defendants herein, dia knowingly and intentionally distribute a
mixture containing cocaine, a Schedule II controlled substance;

All in violation of Title 21, United States Code, Section

841(a) (1), and Title 18, United states Code, Section 2.

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COUNT THREE
THE GRAND JURY FURTHER CHARGES:
Between June 4, 1994 and June 13, 1994, in the Eastern District
of Wisconsin, in El Dorado, Arkansas, and elsewhere,

JERRY WALKER,
a/k/a Jerry Richmond,

defendant herein, knowingly conducted and attempted to conduct a
financial transaction in or affecting interstate commerce, namely
the purchase of electronics, to wit, a 60 inch television, a stereo
receiver, a V.C.R., speakers, cables and wire, from Garrett's
Furniture, Inc., which involved the proceeds of a specified unlawful
activity, that is, buying and selling and otherwise dealing in
cocaine, a Schedule II controlled substance in the Eastern District
of Wisconsin and elsewhere, knowing that the transaction was
designed in whole or in part to conceal and disguise the nature,
source, ownership, and control of the proceeds of that specified
unlawful activity, and that while conducting and attempting to
conduct such financial transaction knew that the property involved
in the transaction, namely United States currency in the amount of
approximately $8,000, represented the proceeds of specified unlawful
activity, that is, the buying, selling, and otherwise dealing in
cocaine, a Schedule II controlled substance;

All in violation of Title 18, United States Code, Sections

1956(a) (1) (B) (i) and 2.

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COUNT FOUR
THE GRAND JURY FURTHER CHARGES:
On or about July 7, 1994, in the State and Eastern District of
Wisconsin,
JERRY WALKER
a/k/a Jerry Richmond,
ROY EVANS,
a/k/a Mister, and
TONY WALTON,
defendants herein, did knowingly and intentionally distribute a
mixture containing cocaine, a Schedule II controlled substance;

All in violation of Title 21, United States Code, Section

841(a)(1), and Title 18, United States Code, Section 2.

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COUNT FIVE
THE GRAND JURY FURTHER CHARGES:

On or about November 2, 1994, in the State and Eastern District

of Wisconsin,
JERRY WALKER
a/k/a Jerry Richmond,
ROY EVANS,
a/k/a Mister, and
TONY WALTON,
defendants herein, did knowingly and intentionally distribute a
mixture containing cocaine base, a Schedule II controlled substance;
All in violation of Title 21, United States Code, Section

841(a) (1), and Title 18, United States Code, Section 2.

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COUNT SIX
THE GRAND JURY FURTHER CHARGES:
Between approximately April 10, 1995, and May 3, 1995, in the
Eastern District of Wisconsin, in Malden, Massachusetts, and

elsewhere,

FERRANO BARNES,
a/k/a Quan,

defendant herein, knowingly conducted and attempted to conduct a
financial transaction in or affecting interstate commerce, namely
the purchase of two GMC Typhoon vehicles, having VIN #'s of
1GDCT18Z8P0811600 and 1GDCT18Z8P0811340, which involved the proceeds
of a specified unlawful activity, that is, buying and selling and
otherwise dealing in cocaine, a Schedule II controlled substance, in
the Eastern District of Wisconsin and elsewhere, knowing that the
transaction was designed in whole or in part to conceal and disguise
the nature, source, ownership, and control of the proceeds of that
specified unlawful activity, and that while conducting and
attempting to conduct such financial transaction knew that the
property involved in the transaction, namely United States currency
in the amount of approximately $54,820, represented the proceeds of
specified unlawful activity, that is, the buying, selling, and
otherwise dealing in cocaine, a Schedule II controlled substance;
All in violation of Title 18, United States Code, Sections

1956(a) (1) (B) (i) and 2.

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COUNT SEVEN
THE GRAND JURY FURTHER CHARGES:
On or about May 16, 1995, in the State and Eastern District of
Wisconsin,

FERRANO BARNES,
a/k/a Quan,

defendant herein, did knowingly and intentionally aid and abet the
possession of another, namely Michael Bias, of a mixture containing
cocaine, a Schedule II controlled substance;

All in violation of Title 21, United States Code, Section

841(a) (1), Title 18, United States Code, Section 2.

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COUNT EIGHT
THE GRAND JURY FURTHER CHARGES:
On or about November 2, 1995, in the State and Eastern District
of Wisconsin,
JERRY WALKER
a/k/a Jerry Richmond, and
ROY EVANS,
a/k/a Mister,
defendants herein, did knowingly and intentionally distribute a
mixture containing cocaine base, a Schedule II controlled substance;

All in violation of Title 21, United States Code, Section

841(a) (1), and Title 18, United States Code, Section 2.

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COUNT NINE
THE GRAND JURY FURTHER CHARGES:
On or about November 14, 1995, in the State and Eastern
District of Wisconsin,
JERRY WALKER
a/k/a Jerry Richmond, and
ROY EVANS,
a/k/a Mister,
defendants herein, did knowingly and intentionally distribute a
mixture containing cocaine base, a Schedule II controlled substance;

All in violation of Title 21, United States Code, Section

841(a) (1), and Title 18, United States Code, Section 2.

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FORFEITURE PROVISIONS

 

1. From his involvement in the conspiracy to distribute
cocaine charged in Count One of the Indictment, pursuant to 21
U.S.C. §853(a)(1), the defendant, Jerry Walker, a/k/a Jerry
Richmond, shall forfeit to the United States his interest in any
property constituting or derived from, any proceeds he obtained,
directly or indirectly as a result of this crime, including but not
limited to:

A. Land and all buildings and improvements including a house,
located at 415 N. Pine Street, Junction City, Arkansas.

2. From his involvement in the conspiracy to distribute
cocaine charged in Count One of the Indictment, pursuant to 21
U.S.C. §853(a)(1), and from his involvement in the commission of the
crime charged in Count Six of the Indictment, pursuant to 18 U.S.C.
§982(a) (1), the defendant, Ferrano Barnes, a/k/a Quan, shall forfeit
to the United States his interest in any property constituting or
derived from, any proceeds he obtained, directly or indirectly as a
result of this crime, including but not limited to:

A. Two GMC Typhoon vehicles, having VIN #'s of
1GDCT18Z8P0811600 and 1GDCT1828P0811340.

All pursuant to Title 18, United States Code, Sections
1956(a) (1) (B) (i) and 982(a)(1) and Title 21, United States Code,

Sections 846 and 853(a)(1).

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A TRUE BILL:

 

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Dated: Jan 4) LITE
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THOMAS P. SCHNEIDER
United States Attorney

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